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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., ef ai,,' Case No. 14-10979 (CSS)

Debtors. (Jointly Administered)

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CERTIFICATION OF COUNSEL REGARDING ORDER
APPROVING STIPULATION EXTENDING DEADLINE TO
ASSUME OR REJECT A CERTAIN NONRESIDENTEAL REAL
PROPERTY LEASE UNDER SECTION 365(d)(4) OF THE BANKRUPTCY CODE

The undersigned hereby certifies as follows:

L. On July 23, 2014, the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) filed the Motion of Energy Future Holdings Corp., et al., for Entry
of an Order, Pursuant to Section 365(d)(4) of the Bankruptcy Code, Extending Their Time to
Assume or Reject Unexpired Leases of Nonresidential Real Property [D.1. 1680] (the “Extension
Motion’) with the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy
Court”).

2. On August 11, 2014, the Bankruptcy Court entered the Order, Pursuant to
Section 365(d)(4) of the Bankruptcy Code, Extending the Debtors’ Time to Assume or Reject

Unexpired Leases of Nonresidential Real Property |D.J. 1803] (the “Extension Order”).

Pursuant to the Extension Order, the Bankruptcy Court granted the Extension Motion and

The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors” service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11 cases, for which joint administration has been granted, a
complete list of the debtors and the last four digits of their federal tax identification numbers is not
provided herein. A complete list of such information may be obtained on the website of the debtors’
claims and noticing agent at http://www.efhcaseinfo.com.

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extended the Debtors’ time to elect to assume or reject the Unexpired Leases,’ pursuant to
section 365(d)(4) of the Bankruptcy Code, through and including November 25, 2014. The
Extension Order further provided that the extension of time provided therein was “without
prejudice to the Debtors’ rights to seek further extensions of their time to assume or reject their
Unexpired Leases as provided in section 365(d)(4) of the Bankruptcy Code.” See Extension
Order, 4 4.

3, On October 30, 2014, the Debtors filed the Motion of Energy Future Holdings
Corp., et al., for Entry of an Order Authorizing Luminant Generation Company LLC to Reject a
Water Contract with Tarrant Regional Water District, Effective Nunc Pro Tune fo the Petition

Date [D.I. 2662] (the “Rejection Motion”), seeking entry of a final order authorizing the Debtors

to reject a lease (the “Lease”) with Tarrant Regional Water District (“TRWD”) effective nunc
pro tunc to April 29, 2014. On November 14, 2014, TRWD filed an objection [D.1. 2771] to the
Rejection Motion and, on November 18, 2014, the Debtors filed a reply [D.I. 2798] in support of
the Rejection Motion. On November 21, 2014, the Bankruptcy Court entered an order approving
a stipulation by and between the Debtors and TRWD extending the date by which the Debtors
must assume or reject the Lease through and including December 31, 2014 [D.I. 2838] (the

“Stipulated Extension Order”). Following the entry of the Stipulated Extension Order, on

December 22, 2014, the Bankruptcy Court entered an order approving a stipulation by and
between the Debtors and TRWD, among other things, extending the date by which the Debtors
must assume or reject the Lease through and including January 31, 2015 [D.I. 3115] (the

“Second Stipulated Extension Order”).

* Capitalized terms used, but not otherwise defined herein, shall be given the same meaning ascribed to

them in the Extension Motion.

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4, Subsequent to the entry of the Second Stipulated Extension Order, the Debtors
and TRWD entered into discussions concerning a further extension of the Debtors’ time to elect
to assume or reject the Lease. Based on those discussions, the Debtors and TRWD entered into
that certain Stipulation Further Extending Deadline to Assume or Reject a Certain
Nonresidential Real Property Lease Under Section 363(d)(4) of the Bankruptcy Code (the
“Stipulation”). Pursuant to the Stipulation, the Debtors’ time to determine whether to assume or
reject the Lease under section 365(d)(4) of the Bankruptcy Code is extended to, and includes,
February 28, 2015. The Debtors believe that the Stipulation is in the best interests of their

estates and should be approved. A proposed form of order (the “Proposed Order”) approving the

Stipulation is attached hereto as Exhibit A. A copy of the Stipulation is attached to the Proposed
Order as Exhibit 1,

WHEREFORE, the Debtors respectfully request that the Bankruptcy Court enter the
Proposed Order, substantially in the form attached hereto as Exhibit A, at its earliest

convenience.

[Remainder of page intentionally left blank. |

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Dated: January 6, 2015
Wilmington, Delaware

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